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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:            10-40560 JTL                                                     Trustee: (300030)           WALTER W. KELLEY
Case Name:              LEGENDARY PERFORMANCE CARS                                       Filed (f) or Converted (c): 02/01/11 (c)
                                                                                         §341(a) Meeting Date:       06/03/10
Period Ending:          03/31/13                                                         Claims Bar Date:            05/24/11

                                   1                                  2                         3                          4                     5                    6

                       Asset Description                           Petition/            Estimated Net Value             Property           Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)             Unscheduled       (Value Determined By Trustee,       Abandoned           Received by        Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.      the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                    Remaining Assets

 1       12 East Main Street, Manchester, GA 31830                  175,000.00                   175,000.00                                      49,500.00                   FA

 2       46" TV and DVD player                                            400.00                         0.00                                        517.00                  FA

 3       1969 Ford Mustang Boss 429                                 300,000.00                   170,000.00                                     244,750.00                   FA

 4       1969 Chevrolet Camaro Z-28                                  86,000.00                      60,450.00                                    61,600.00                   FA

 5       1969 Plymouth Barracuda                                      8,000.00                           0.00                                     9,075.00                   FA

 6       1997 Porsche 993 Turbo                                      85,000.00                           0.00                                    57,200.00                   FA

 7       1972 Detomaso Pantera                                       36,000.00                           0.00                                    40,700.00                   FA
 8       1996 Ford GT 40                                             72,000.00                      40,000.00                                    56,100.00                   FA

 9       1988 Porsche 930S CPE                                       48,000.00                           0.00                                    57,200.00                   FA

10       2 Tool Boxes                                                     500.00                         0.00                                     1,375.00                   FA

11       8 Hand Lifts                                                     300.00                         0.00                                        748.00                  FA

12       POSSIBLE CLAIM RE: $ FROM BANK                              20,000.00                      20,000.00                                          0.00                  FA

13       Misc Equipment                                                     0.00                         0.00                                        649.00                  FA

14       Guns (u)                                                           0.00                         0.00                                          0.00                  FA

15       Post-Petition Interest Deposits (u)                         Unknown                        Unknown                                            0.00                  FA

 Int     INTEREST (u)                                                Unknown                             N/A                                           0.08            Unknown

16       Assets            Totals (Excluding unknown values)       $831,200.00                  $465,450.00                                  $579,414.08                   $0.00




                                                                                                                                            Printed: 04/30/2013 11:03 AM   V.13.13
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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:       10-40560 JTL                                                              Trustee: (300030)           WALTER W. KELLEY
Case Name:         LEGENDARY PERFORMANCE CARS                                                Filed (f) or Converted (c): 02/01/11 (c)
                                                                                             §341(a) Meeting Date:       06/03/10
Period Ending:     03/31/13                                                                  Claims Bar Date:            05/24/11

                              1                                                2                    3                          4                    5                     6

                      Asset Description                                  Petition/          Estimated Net Value             Property           Sale/Funds           Asset Fully
           (Scheduled And Unscheduled (u) Property)                    Unscheduled     (Value Determined By Trustee,       Abandoned           Received by       Administered (FA)/
                                                                          Values          Less Liens, Exemptions,      OA=§554(a) abandon.      the Estate        Gross Value of
Ref. #                                                                                        and Other Costs)                                                   Remaining Assets



    Major Activities Affecting Case Closing:
            3/31/13 (DB)- Trustee to check claims. Case will then be ready to close.
            April 10, 2012 (WK) Update
            Pantera Litigation Continuing. MSJ for Tee granted re: storage lien.
            Motion to Compromise filed w/ Bank.




            03/2011 Update:
            a. Appraisal of three best cars obtained.
            b. Real estate in Manchester to be sold at auction.
            c. Insurance is current.
            d. Vehicles to be moved to Moultrie for auction in next quarter.

            1. Sell real estate
            2. Ask Bill Flatau to investigate

    Initial Projected Date Of Final Report (TFR): April 30, 2012                         Current Projected Date Of Final Report (TFR): December 31, 2013




                                                                                                                                                Printed: 04/30/2013 11:03 AM   V.13.13
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                                                       Cash Receipts And Disbursements Record
Case Number:        10-40560 JTL                                                             Trustee:       WALTER W. KELLEY (300030)
Case Name:          LEGENDARY PERFORMANCE CARS                                               Bank Name:     BANK OF AMERICA, N.A.
                                                                                             Account:       ********48 - Ch 11 - Money Market Acco
Taxpayer ID #:      **-***4515                                                               Blanket Bond: $3,580,000.00 (per case limit)
Period Ending:      03/31/13                                                                 Separate Bond: N/A

  1            2                         3                                4                                             5               6                     7
Trans.     {Ref #} /                                                                                             Receipts       Disbursements         Money Market
 Date      Check #           Paid To / Received From           Description of Transaction               T-Code      $                 $              Account Balance
 (No Transactions on File for this Period)                              Account ********48
                                                                                  Balance Forward                0.00
                                                                                0          Deposits              0.00          0         Checks                    0.00
                                                                                0 Interest Postings              0.00          0 Adjustments Out                   0.00
                                                                                                                               0   Transfers Out                   0.00
                                                                                             Subtotal            0.00
                                                                                                                                            Total                  0.00
                                                                                 0   Adjustments In              0.00
                                                                                 0     Transfers In              0.00
                                                                                                Total            0.00




 {} Asset reference(s)                                                                                                             Printed: 04/30/2013 11:03 AM    V.13.13
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                                                        Cash Receipts And Disbursements Record
Case Number:         10-40560 JTL                                                               Trustee:       WALTER W. KELLEY (300030)
Case Name:           LEGENDARY PERFORMANCE CARS                                                 Bank Name:     BANK OF AMERICA, N.A.
                                                                                                Account:       ********45 - MONEY MARKET ACCOUNT
Taxpayer ID #:       **-***4515                                                                 Blanket Bond: $3,580,000.00 (per case limit)
Period Ending:       03/31/13                                                                   Separate Bond: N/A

   1           2                       3                                        4                                   5                      6                     7
 Trans.     {Ref #} /                                                                                            Receipts           Disbursements        Money Market
  Date      Check #           Paid To / Received From              Description of Transaction         T-Code        $                     $             Account Balance
07/21/11                  DEFRESNE LAW FIRM               SALE OF REAL ESTATE                                       44,008.08                                    44,008.08
               {1}          DEFRESNE LAW FIRM               GROSS AMOUNT DUE              49,500.00   1110-000                                                   44,008.08
                                                            TRUSTEE
                            MEADOWS HALE REALTY INC.        REALTOR                       -1,350.00   3510-000                                                   44,008.08
                                                            COMMISSION
                            ROWELL AUCTIONS                 AUCTIONEER                    -3,150.00   3610-000                                                   44,008.08
                                                            COMMISSION/EXPENS
                                                            ES
                            MANCHESTER, GEORGIA             TAXES                           -158.76   2820-000                                                   44,008.08
                                                            OTHER CLOSING                   -833.16   2500-000                                                   44,008.08
                                                            COSTS
07/29/11       Int        BANK OF AMERICA, N.A.           Interest Rate 0.010                         1270-000              0.08                                 44,008.16
08/19/11                  THE ROWELL REALTY & AUCTION Sale of Vehicles and equipment                               468,490.92                                   512,499.08
                          CO., IN
               {2}          THE ROWELL REALTY &             Sale of Vehicles and            517.00    1129-000                                                  512,499.08
                            AUCTION CO., IN                 equipment
               {3}                                          Sale of Vehicle              244,750.00   1129-000                                                  512,499.08
               {4}                                          Sale of Vehicle               61,600.00   1129-000                                                  512,499.08
               {5}                                          Sale of Vehicle                9,075.00   1129-000                                                  512,499.08
               {6}                                          Sale of Vehicle               57,200.00   1129-000                                                  512,499.08
               {7}                                          Sale of Vehicle               40,700.00   1129-000                                                  512,499.08
               {8}                                          Sale of Vehicle               56,100.00   1129-000                                                  512,499.08
               {9}                                          Sale of Vehicle               57,200.00   1129-000                                                  512,499.08
              {10}                                          Sale of Equipment              1,375.00   1129-000                                                  512,499.08
              {11}                                          Sale of Equipment               748.00    1129-000                                                  512,499.08
              {13}                                          Sale of Equipment               649.00    1129-000                                                  512,499.08
                            ROWELL AUCTIONS                 AUCTIONEER                   -48,174.00   3610-000                                                  512,499.08

                                                                                                 Subtotals :      $512,499.08                   $0.00
  {} Asset reference(s)                                                                                                               Printed: 04/30/2013 11:03 AM    V.13.13
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                                                        Cash Receipts And Disbursements Record
Case Number:         10-40560 JTL                                                               Trustee:       WALTER W. KELLEY (300030)
Case Name:           LEGENDARY PERFORMANCE CARS                                                 Bank Name:     BANK OF AMERICA, N.A.
                                                                                                Account:       ********45 - MONEY MARKET ACCOUNT
Taxpayer ID #:       **-***4515                                                                 Blanket Bond: $3,580,000.00 (per case limit)
Period Ending:       03/31/13                                                                   Separate Bond: N/A

   1           2                       3                                        4                                    5                   6                     7
 Trans.     {Ref #} /                                                                                             Receipts        Disbursements          Money Market
  Date      Check #           Paid To / Received From              Description of Transaction          T-Code        $                  $               Account Balance
                                                            COMMISSION/EXPENS
                                                            ES
                            ROWELL AUCTIONS, INC.           Advertising &                 -13,249.08   3620-000                                               512,499.08
                                                            Promotional Expense
09/08/11      1001        ROWELL AUCTIONS                 AUCTIONEER COMMISSION/EXPENSES               3620-000                              2,000.00         510,499.08
10/06/11      1002        KELLEY, LOVETT AND BLAKEY       EXPENSES - ATTORNEY FOR TRUSTEE per 3120-000                                   12,621.52            497,877.56
                                                          order of 10-6-11
10/31/11                  BANK OF AMERICA, N.A.           BANK SERVICE FEE                             2600-000                               639.47          497,238.09
11/22/11      1003        ANDREW J. EKONOMOU              Attorney for the Trustee Fees                3210-000                          15,650.00            481,588.09
11/22/11      1004        ANDREW J. EKONOMOU              Attorney for the Trustee Expenses            3220-000                               114.06          481,474.03
11/30/11                  BANK OF AMERICA, N.A.           BANK SERVICE FEE                             2600-000                               611.09          480,862.94
12/02/11      1005        BILL BATES                      REIMBURSEMENT OF EXPENSES -                  2200-000                              2,556.38         478,306.56
                                                          PANTERA PER ORDER OF 11-30-11
12/30/11                  BANK OF AMERICA, N.A.           BANK SERVICE FEE                             2600-000                               590.11          477,716.45
01/26/12      1006        KELLEY, LOVETT AND BLAKEY       Bond reimbrusement                           2200-000                               390.84          477,325.61
01/31/12                  BANK OF AMERICA, N.A.           BANK SERVICE FEE                             2600-000                               626.50          476,699.11
02/29/12      1007        KELLEY, LOVETT AND BLAKEY       FEES-ATTORNEY FOR TRUSTEE per order          3110-000                          19,410.00            457,289.11
                                                          of 2/29/12
02/29/12      1008        KELLEY, LOVETT AND BLAKEY       EXPENSES - ATTORNEY FOR TRUSTEE per 3120-000                                        263.49          457,025.62
                                                          order of 2/29/12
02/29/12                  BANK OF AMERICA, N.A.           BANK SERVICE FEE                             2600-000                               566.57          456,459.05
03/30/12                  BANK OF AMERICA, N.A.           BANK SERVICE FEE                             2600-000                               561.22          455,897.83
04/12/12      1009        ANDREW J. EKONOMOU              FEES - ATTORNEY FOR TRUSTEE PER              3210-000                          17,442.00            438,455.83
                                                          ORDER OF 4/11/12
04/12/12      1010        ANDREW J. EKONOMOU              EXPENSES - ATTORNEY FOR TRUSTEE per 3220-000                                        605.79          437,850.04
                                                          order of 4/11/12
04/12/12      1011        EBERHARDT CONSULTING            FEES-ACCOUNTANT FOR TRUSTEE PER              3410-000                          10,686.50            427,163.54

                                                                                                  Subtotals :            $0.00          $85,335.54
  {} Asset reference(s)                                                                                                             Printed: 04/30/2013 11:03 AM    V.13.13
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                                                         Cash Receipts And Disbursements Record
Case Number:         10-40560 JTL                                                                  Trustee:       WALTER W. KELLEY (300030)
Case Name:           LEGENDARY PERFORMANCE CARS                                                    Bank Name:     BANK OF AMERICA, N.A.
                                                                                                   Account:       ********45 - MONEY MARKET ACCOUNT
Taxpayer ID #:       **-***4515                                                                    Blanket Bond: $3,580,000.00 (per case limit)
Period Ending:       03/31/13                                                                      Separate Bond: N/A

   1           2                            3                                   4                                               5                6                     7
 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements        Money Market
  Date      Check #            Paid To / Received From             Description of Transaction                 T-Code         $                  $             Account Balance
                          GROUP LLC                        ORDER OF 4/11/12
04/30/12                  BANK OF AMERICA, N.A.            BANK SERVICE FEE                               2600-000                                   568.12           426,595.42
05/31/12                  BANK OF AMERICA, N.A.            BANK SERVICE FEE                               2600-000                                   542.86           426,052.56
06/29/12                  BANK OF AMERICA, N.A.            BANK SERVICE FEE                               2600-000                                   506.37           425,546.19
07/06/12      1012        WALTER W. KELLEY, TRUSTEE;       Trustee Commission INCORRECT AMOUNT            2100-000                               32,200.00            393,346.19
                          Reverses                         Voided on 07/06/12
07/06/12      1012        WALTER W. KELLEY, TRUSTEE;       Trustee Commission INCORRECT AMOUNT            2100-000                              -32,200.00            425,546.19
                          Reverses                         Voided: check issued on 07/06/12
07/06/12      1013        AMERIS BANK                      Settlement per order of 6/21/12                4110-000                              278,226.05            147,320.14
07/06/12      1014        WALTER W. KELLEY, TRUSTEE        Trustee Commission                             2100-000                               17,161.30            130,158.84
07/17/12                  Bank of America                  Bank and Technology Services Fees              2600-000                                   209.70           129,949.14
07/17/12                  Bank of America                  Transfer to The Bank of New York Mellon        9999-000                              129,949.14                    0.00

                                                                              Account ********45
                                                                                         Balance Forward                 0.00
                                                                                       2          Deposits         512,499.00          14         Checks           377,127.93
                                                                                       1 Interest Postings               0.08          11 Adjustments Out          135,371.15
                                                                                                                                        0   Transfers Out                0.00
                                                                                                   Subtotal        512,499.08
                                                                                                                                                     Total         512,499.08
                                                                                       0     Adjustments In              0.00
                                                                                       0       Transfers In              0.00
                                                                                                      Total        512,499.08




  {} Asset reference(s)                                                                                                                     Printed: 04/30/2013 11:03 AM    V.13.13
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                                                          Cash Receipts And Disbursements Record
Case Number:         10-40560 JTL                                                                Trustee:       WALTER W. KELLEY (300030)
Case Name:           LEGENDARY PERFORMANCE CARS                                                  Bank Name:     Rabobank, N.A.
                                                                                                 Account:       ****649666 - Checking Account
Taxpayer ID #:       **-***4515                                                                  Blanket Bond: $3,580,000.00 (per case limit)
Period Ending:       03/31/13                                                                    Separate Bond: N/A

   1           2                           3                                    4                                             5                 6                     7
 Trans.     {Ref #} /                                                                                                   Receipts        Disbursements             Checking
  Date      Check #            Paid To / Received From              Description of Transaction              T-Code         $                  $                Account Balance
01/04/13                  RABOBANK MIGRATION                RABOBANK MIGRATION                           9999-000         107,447.69                                 107,447.69
                          TRANSFER IN
01/10/13     10104        KELLEY, LOVETT, & BLAKEY          BOND PREMIUM PAYMENT ON LEDGER               2300-000                                    113.43          107,334.26
                                                            BALANCE AS OF 01/01/2013 FOR CASE
                                                            #10-40560, Reimbursement for bond 1/1/13 -
                                                            1/1/14
01/16/13     10105        Custom Performance Automotive     SETTLEMENT OF AP 11-4038- ORDER OF           4220-000                                   2,980.65         104,353.61
                                                            10/9/12
01/31/13                  Rabobank, N.A.                    Bank and Technology Services Fee             2600-000                                    164.47          104,189.14
02/28/13                  Rabobank, N.A.                    Bank and Technology Services Fee             2600-000                                    139.86          104,049.28
03/29/13                  Rabobank, N.A.                    Bank and Technology Services Fee             2600-000                                    144.66          103,904.62

                                                                             Account ****649666
                                                                                        Balance Forward                0.00
                                                                                      0          Deposits              0.00            2         Checks              3,094.08
                                                                                      0 Interest Postings              0.00            3 Adjustments Out               448.99
                                                                                                                                       0   Transfers Out                 0.00
                                                                                                 Subtotal              0.00
                                                                                                                                                      Total          3,543.07
                                                                                      0   Adjustments In               0.00
                                                                                      1     Transfers In         107,447.69
                                                                                                    Total        107,447.69




  {} Asset reference(s)                                                                                                                    Printed: 04/30/2013 11:03 AM    V.13.13
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                                                         Cash Receipts And Disbursements Record
Case Number:        10-40560 JTL                                                                    Trustee:       WALTER W. KELLEY (300030)
Case Name:          LEGENDARY PERFORMANCE CARS                                                      Bank Name:     The Bank of New York Mellon
                                                                                                    Account:       9200-******82-66 - Checking Account
Taxpayer ID #:      **-***4515                                                                      Blanket Bond: $3,580,000.00 (per case limit)
Period Ending:      03/31/13                                                                        Separate Bond: N/A

   1           2                         3                                        4                                        5                   6                     7
 Trans.     {Ref #} /                                                                                                   Receipts        Disbursements            Checking
  Date      Check #            Paid To / Received From               Description of Transaction               T-Code       $                  $               Account Balance
07/17/12                  The Bank of New York Mellon       Transfer from Bank of America                    9999-000     129,949.14                                129,949.14
07/31/12                  The Bank of New York Mellon       Bank and Technology Services Fee                 2600-000                               115.39          129,833.75
08/31/12                  The Bank of New York Mellon       Bank and Technology Services Fee                 2600-000                               274.92          129,558.83
09/19/12      101         EBERHARDT CONSULTING              ACCOUNTANT FEE PER ORDER OF                      3410-000                               688.75          128,870.08
                          GROUP LLC                         09-18-12
09/28/12                  The Bank of New York Mellon       Bank and Technology Services Fee                 2600-000                               247.69          128,622.39
10/18/12      102         KELLEY, LOVETT AND BLAKEY         attorney for trustee fees and expenses per                                             7,890.82         120,731.57
                                                            order of 10/17/12
                                                              Attorney Fees per order          7,457.00      3110-000                                               120,731.57
                                                              of 10/17/12
                                                              Attorney Expenses per              433.82      3120-000                                               120,731.57
                                                              order of 10/17/12
10/18/12      103         ANDREW J. EKONOMOU                Attorney for Trustee fees and expenses per                                          12,570.82           108,160.75
                                                            order of 10/17/12
                                                              Attorney Fees per order         11,250.00      3210-000                                               108,160.75
                                                              of 10/17/12
                                                              Attorney Expenses per            1,320.82      3220-000                                               108,160.75
                                                              order of 10/17/12
10/31/12                  The Bank of New York Mellon       Bank and Technology Services Fee                 2600-000                               278.74          107,882.01
11/30/12                  The Bank of New York Mellon       Bank and Technology Services Fee                 2600-000                               221.06          107,660.95
12/31/12                  The Bank of New York Mellon       Bank and Technology Services Fee                 2600-000                               213.26          107,447.69
01/03/13                  RABOBANK MIGRATION                TRANSFER TO 0001030003088                        9999-000                          107,447.69                   0.00
                          TRANSFER OUT                      20130103




                                                                                                         Subtotals :     $129,949.14          $129,949.14
  {} Asset reference(s)                                                                                                                   Printed: 04/30/2013 11:03 AM    V.13.13
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                                                     Cash Receipts And Disbursements Record
Case Number:       10-40560 JTL                                                              Trustee:       WALTER W. KELLEY (300030)
Case Name:         LEGENDARY PERFORMANCE CARS                                                Bank Name:     The Bank of New York Mellon
                                                                                             Account:       9200-******82-66 - Checking Account
Taxpayer ID #:     **-***4515                                                                Blanket Bond: $3,580,000.00 (per case limit)
Period Ending:     03/31/13                                                                  Separate Bond: N/A

  1           2                        3                                   4                                              5                6                     7
Trans.     {Ref #} /                                                                                                Receipts        Disbursements          Checking
 Date      Check #         Paid To / Received From              Description of Transaction              T-Code         $                  $             Account Balance

                                                                         Account 9200-******82-66
                                                                                   Balance Forward                 0.00
                                                                                 0          Deposits               0.00           3         Checks            21,150.39
                                                                                 0 Interest Postings               0.00           6 Adjustments Out            1,351.06
                                                                                                                                  1   Transfers Out          107,447.69
                                                                                             Subtotal              0.00
                                                                                                                                               Total         129,949.14
                                                                                  1    Adjustments In        129,949.14
                                                                                  0      Transfers In              0.00
                                                                                                Total        129,949.14

                            Net Receipts :        512,499.08             Case Totals
                  Plus Gross Adjustments :         66,915.00
                                                                                   Balance Forward                 0.00
                                               ————————
                                                                                 2          Deposits         512,499.00          19         Checks           401,372.40
                                Net Estate :     $579,414.08
                                                                                 1 Interest Postings               0.08          20 Adjustments Out          137,171.20
                                                                                                                                  1   Transfers Out          107,447.69
                                                                                             Subtotal        512,499.08
                                                                                       Adjustments In                                          Total         645,991.29
                                                                                  1                          129,949.14
                                                                                  1      Transfers In        107,447.69
                                                                                                Total        749,895.91            Net Total Balance         103,904.62




 {} Asset reference(s)                                                                                                                Printed: 04/30/2013 11:03 AM    V.13.13
